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                          UNITED STATES COURT OF APPEALS
                                     FOR THE
                                  SECOND CIRCUIT

       At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
5th day of October, two thousand twenty-three.

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 Fiona Havlish, et al.,
                                                    ORDER
            Plaintiffs-Appellants,
                                                    Docket Nos. 23-258(L), 23-263(Con),
 v.                                                 23-304(Con), 23-346(Con), 23-444(Con)

 The Islamic Emirate of Afghanistan, The
 Taliban, Al Qaida/Islamic Army, Sheikh
 Usamah Bin-Muhammad Bin-Laden, AKA
 Osama Bin-Laden, Republic of Iraq,

              Defendants - Appellees,

 Federal Reserve Bank of New York,

           Garnishee-Interested-Party.
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        Terry Kay Rockefeller seeks leave to file an amicus curiae brief in support of no party.

       IT IS HEREBY ORDERED that the motion is REFERRED to the panel that will
determine the merits of these appeals.


                                                     For the Court:
                                                     Catherine O’Hagan Wolfe,
                                                     Clerk of Court
